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                            UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

 In Re:                                           Case No. 18-03656-jw

 Ezekiel Tyrone Kitt, Jr.
  aka Tyrone Kitt                                 Chapter 13
  aka Ezekiel Kitt

 Debtor.                                          Judge John E. Waites

                                  CERTIFICATE OF SERVICE

I certify that on December 6, 2021, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          Russel A. DeMott, Debtor’s Counsel
          russ@demottlawfirm.com

          James M. Wyman, Chapter 13 Trustee
          13info@charleston13.com

          Office of the United States Trustee
          ustpregion04.co.ecf@usdoj.gov

I further certify that on December 6, 2021, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Ezekiel Tyrone Kitt, Jr., Debtor
          119 Kitt Road
          Summerville, SC 29483

 Dated: December 6, 2021                          /s/ D. Anthony Sottile
                                                  D. Anthony Sottile
                                                  Authorized Agent for Creditor
                                                  Sottile & Barile, LLC
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
